Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 1 of 13 PageID #: 3148



      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF RHODE ISLAND

  UNITED STATES OF AMERICA
       Plaintiff

               v.                                                     C.A. No 14-175

  STATE OF RHODE ISLAND
      Defendant



            QUARTERLY REPORT OF THE COURT MONITOR ON THE STATUS OF
                          COURT ORDERED PLACEMENTS

                                        JANUARY 1, 2018 THROUGH MARCH 31, 2018

                                                             June 13, 2018
                                                                   

  Background
  This report reviews the State’s progress on achieving supported employment placement and
  performance outcomes required by the Consent Decree and Interim Settlement Agreement
  across all Target Populations for the calendar quarter, January 1, 2018 through March 31, 2018.
  The assessment is based on the Consent Decree data report issued by the State on a quarterly
  basis (see Attachment).1 The State’s report aggregates data drawn from four sources: the
  Sherlock Center Quarterly Provider Survey (Sherlock Survey), Office of Rehabilitation Services
  (ORS) case files, Division of Developmental Disabilities (DDD) caseload information, and the
  Rhode Island Department of Education (RIDE) annual census creating a single non-duplicated
  dataset that is used to track progress on a quarter-by-quarter basis. The dataset is composed of
  information that is gathered at different times during the quarter. Data from the comprehensive
  Sherlock Survey requires approximately three months to analyze and report. This information is
  updated quarterly by ORS and DDD caseload numbers.


  Supported Employment Placement Status
  The attached Consent Decree Data Report, dated April 30, 2018, was prepared by DDD and


  
  1   Consent Decree Data Reports Data for Quarter Ending March 31, 2018.
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 2 of 13 PageID #: 3149



      reviewed by the Court Monitor. The report documents the State’s progress on achieving the
  January 1, 2019 benchmarks and performance outcomes required by the Consent Decree across
  the four target populations2 for the period ending March 31, 2018. The total number of target
  population members who received a supported employment                           
 
  placement in an integrated competitive employment setting            	
                                                                        	! #! %
  increased from 617 on December 31, 2017 to 744 on March 31,                

  2018, a gain of 127 individuals for the quarter. Additional                 
                                                                     )2016                268
  supported employment placements achieved during the               )2016         95      363
  prior 12 months expanded the total number of target               )2017        119      482
                                                                    !)2017        62      544
  population members who are working by 262 individuals,             )2017        29      573
  from 482 on March 31, 2017 to 744 on March 31, 2018.              )2017         44      617
                                                                    )2018       127      744
                                                                    
    "$#        
  During this period the State averaged approximately 66 placements per quarter. Table 1
  summarizes the number of individuals receiving supported employment placements by
  quarter. Please note that the numbers in Table 1 do not include 11 individuals across the Youth
  Exit (0) Sheltered Workshop (1) and Day Program target populations (10) who no longer
  participate in State funded employment services or have died. These numbers are counted
  when assessing Consent Decree compliance and are reflected in Table 2 below. The numbers of
  past placements are not included in the quarterly analysis of placement data, however.


  Placement data for each target population is measured against Consent Decree benchmarks that
  must be achieved by January 1, 2019 for the Sheltered Workshop and Day Target Populations.
  Additional benchmarks occur in subsequent years. The benchmark date by which time all
  members of the Youth Exit Population were to have been placed was July 1, 2016. The State is
  implementing a plan to place these individuals by September 2018.


  Target Population Census
  The total unduplicated number of individuals in the Consent Decree’s four Target Populations
  was 3,324 on March 31, 2018, roughly the same total reported for the previous quarter.
  Adjusting the census figures to reflect the numbers of individuals who are not or are no longer

  
  2
   Consent Decree Target Populations: Sheltered Workshop Target Population, Day Target
  Population, Youth Exit Target population and Youth Transition Target Population.


                                                                                                   2
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 3 of 13 PageID #: 3150



  involved with developmental disabilities services yields a total of 2,416 individuals across the
  four target populations who must be provided with the opportunity to receive a supported
  employment placement.3 This number does not include members of the Transition Target
  Population4 nor individuals who were employed during 2012, the base year for Consent Decree
  calculations. The number of individuals to be placed by target population (updated) is as
  follows:
               a. Sheltered Workshop Target Population – 629
               b. Day Target Population – 1,362
               c. Youth Exit Target Population – 425
  The active census of individuals in each of the Consent Decree Target Populations varies
  slightly from quarter to quarter depending on individual circumstances and the State’s
  continuing efforts to identify and track target population members.


  The Consent Decree and the ISA require the State to meet numerical benchmarks regarding the
  number of target population members who must receive a supported employment placement
  during the pendency of the two agreements. A placement is counted only once for each
  individual. Placements achieved by target population members who subsequently leave or
  suspend their services, or terminate their employment, are considered to be inactive but
  continue to be credited against the State’s overall placement requirements. Previously placed
  individuals who are “re-employed” (see Consent Decree §V[H]) are returned to the “active”
  category.


  The total number of supported employment placements is calculated by combining the number
  of individuals who are actively engaged in supported employment with the number of target
  population members who received a placement in the past and have since terminated their
  employment for personal reasons.5 These individuals are considered to be in the inactive group
  and are classified, “past placements.”

  
  3 See Attachment, Report 1 Current Consent Decree Population.
  4
   The Consent Decree does not require the State to place individuals in the Youth Transition Target
  Population. 
  5 Individuals in the inactive category include target population members who are hospitalized for

  several months, who are recovering from surgery or injury in a rehabilitation center or with home
  health services, those who winter in Florida or who leave the country for several months, and those
  choose to stop receiving services for a period of time for other personal reasons.


                                                                                                       3
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 4 of 13 PageID #: 3151




  Employer Paid Employment by Target Population
  The Consent Decree sets annual benchmarks for the placement of members of the Sheltered
  Workshop and Day Program Target Populations that increase on January 1st of each year. All
  members of the Youth Exit Population were required to have received a supported employment
  placement by July 1, 2016. The State was not able to fully identify all of the members of this
  population until late 2016. Continued outreach efforts are being made by the State to locate,
  contact and track all members of this population.


  Table 2 identifies for each Consent Decree population the annual number of individuals
  required to receive a supported employment placement, the aggregated year-over-year total,
  and the number of placements made by January 1st of each year. The number of individuals in
  the “Placed to Date” column is revised quarterly. The adjusted total includes individuals placed
  during prior years who have since terminated services.

                                                            +
                                 

                                                     ,*%+)*0
                                                                                ! $ 
                                 	!                 % 	!            	! 
                                                    	                         	
                1     !                !                         	
                '                                                
                  2016      50          50          57     25         25       118      413        29
                  2017      50         100          87     25         50       167      413       109
                  2018      50         150         201     50        100       310      413       233
                  2019      50         200                50        150               413         
                  2020     100         300                75        225               413         
                  2021     100         400               100        325               413         
                  2022     100         500               200        525               413         
                  2023     100         600               200        725               413         
                  2024     100         700               225        950               413         
                	(                         1                         10                0
                !  	            202                       320               233
                !  !% "!#"




  
  


                                                                                                                  4
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 5 of 13 PageID #: 3152



  Youth Exit Population. The number of individuals in the Youth Exit Population has increased
  each quarter during the past two years as a result of the State’s continuing actions to contact all
  members of this group and determine their interest in receiving supported employment
  services and placements. DDD identified a total of 425 Youth Exit Target Population members
  for the quarter ending March 31, 2018, an increase of 12 individuals over the 413 individuals
  reported during the previous quarter. The number of Youth Exit Population members working
  in individual employer paid employment on March 31, 2018 was 233, an increase of 56 persons
  over the previous quarter and approximately 55% of the benchmark for this population (see
  Table 3).


  DDD and ORS are implementing their previously submitted and approved plan to provide
  supported employment placements for all remaining Youth Exit Population Members who
  choose competitive employment (425). The plan calls for the placement of 50% of the Target
  Population by April 30, 2018, and 100% by September 30, 2018. As noted in the Attachment, 233
  Youth Exit Target Population members had received a supported employment placement by
  March 31, 2018, approximately 55% of the total. The plan calls for the remaining 192 individuals
  to be placed in supported employment by September 30, 2018.

                                                               ,
  The last quarterly data report          
 $	 
                                                           ,*%+)*/
  indicated that DDD had
                                         !                                3
  identified 60 Youth Exit                                                                      
  Target Population members           #              233              425                       55<
                                     
      201                200                      101<
  who were not receiving
                                     $              310                150                      206<
  services from DDD or ORS.
  An examination of the group revealed that 39 had never applied for State services. The
  remaining 21 individuals were found to be eligible for ORS services but had not applied to
  DDD. The Division sent letters to this group on September 29, 2017 to inform them of DDD
  service eligibility and community resources that may be available to assist them. DDD reports
  that it is continuing to follow up on the status of these individuals. This action will likely
  decrease the total number of Youth Exit Target Population members who are ready and
  interested in receiving supported employment services and placements. The status of the
  individuals in this group will be noted in future reports. The placement process continues for



                                                                                                                                 5
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 6 of 13 PageID #: 3153



  the approximately 192 individuals who are receiving supported employment services but are
  not yet employed.


  Sheltered Workshop Target Population. Thirty-three (33) Sheltered Workshop Target
  Population members received supported employment placements during the quarter ending
  March 31, 2018 bringing the total number of placements during this reporting quarter to 201
  (Table 2). Adjusting these data to reflect the prior year placement of one individual who is no
  longer receiving state services increases the total number of placements among this population
  to 202, slightly exceeding the benchmark of 200 persons who needed to receive supported
  employment placements by January 1, 2019.


  Day Target Population. The number of individuals in the Day Target Population who received
  a supported employment placement by March 31, 2018 was 310, an increase of 38 individuals
  over the previous quarter. Ten individuals were placed during prior years bringing the total
  number of individuals who have received a supported employment placement to 320. This
  represents more than double the Consent Decree requirement that placements be provided to
  150 individuals from this target population by January 1, 2019.


  Average Hours Worked Per Week. The average number of hours worked per week by
  members of the three target populations during the quarter ending March 31, 2018 was 12.48
  hours. This is largely unchanged from the weekly hours worked reported during previous
  quarters and remains below the 20 hours per week benchmark. On March 31, 2018, 128
  members of the Youth Exit Population worked on average 14.5 hours per week; 92 members of
  the Sheltered Workshop Target Population averaged 13.1 hours per week; and 113 members of
  the Day Target Population averaged 9.7 hours per week. The average hourly wage earned
  individuals across all target populations was $10.19, a slight increase from the prior quarter.
  Finally, the percentages of target population members working more than 20 hours per week
  improved for each target population as compared to the prior reporting quarter (see
  Attachment, Report 4). This suggests that the State’s efforts to increase the weekly hours
  worked among individuals receiving supported employment is having an impact.


  Career Development Planning



                                                                                                   6
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 7 of 13 PageID #: 3154



  Each target population member is required to receive a Career Development Plan, updated
  annually and Benefits Planning consultations during the year that they obtain a supported
  employment placement or, for members of the Youth Transition Target Population, not later
  than the year prior to exiting secondary school. Information on the status of career
  development planning is reported
                                                   -!
  by the State and can be found in the
                                                          	 ,*%+)*0
  Attachment, Report 3a in the table,                  !            3
  titled Career Development Plan                       "&
                                               578+=71,               646       90<
  Exists. Data reported in this table
                                           #           424+1,-              413      103<
  combines the number of individuals      
          699+1,--             705       99<
  who have completed plans with the       
                                          $          1550+3,-              1&562      99<
  numbers of individuals whose CDPs       - )	'4--
!*1
  are incomplete (pending) and
  individuals who have refused to participate in the planning process. To clarify the status of
  career development planning, Table 4 on the right separates the data on the numbers of
  individuals with completed CDPs, from information on individuals with incomplete or pending
  plans and persons who have refused to participate in the CDP planning process. Overall, the
  numbers and percentages of individuals with CDPs during the current reporting quarter are
  basically unchanged from the previous quarter ending December 31, 2017. As noted in previous
  reports, the 71 members of the Transition Target Population who were identified as not having
  a CDP are primarily new students who will receive their CDPs during the school year. The
  status of CDPs for Youth Transition Target Population members is reported twice each year in
  December and June and is filed in RIDE’s quarterly reports and will be available in July 2018.
  RIDE will provide additional information on this group during the next two quarters. If plans
  are completed as scheduled the benchmark for this population will be met.


  Benefits Planning
  The State continues to demonstrate solid progress on increasing the number of Consent Decree
  target population members with benefits plans. As shown in Attachment Report 3b, across all
  target populations the unduplicated total number of individuals with benefits plans increased
  by 163 individuals from 367 on June 30, 2017 to 586 on March 31, 2018. Table 5 provides a




                                                                                                                7
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 8 of 13 PageID #: 3155



  breakdown of the status of            .'
 	 
  benefits planning for each                                   ,*%+)*0
                                        ! "&  3
  target population as well
                                                                                   
  as the percentage of the       #                         167                233              72<
  benchmark that is             
                 176                201              88<
                                $                         243                310              78<
  required to be met under
                                $"&                369                695              53<
  the Consent Decree.
  An individual benefits plan is required for each individual who has received a supported
  employment placement. Benefits plans are in place for 369 of 695 or 53% of target population
  members working in supported employment Table 5).


  Summary
  The total number of Consent Decree target population members who received a supported
  employment placement by March 31, 2018 is 755. During this quarter an additional 127
  individuals became actively employed across all three target populations. The number of
  placements to date exceeds the benchmark requirements for the Sheltered Workshop and Day
  Program target populations and represents approximately 55% of the Youth Exit target
  population benchmark of 425 individuals (Table 3).


  As noted in previous reports,6 DDD and ORS are implementing a plan to ensure all members of
  the Youth Exit Target Population who choose to receive a supported employment placement
  become employed by September 30, 2018. The State met its first placement goal on March 23,
  2018 and appears to be on track for meeting upcoming targets at the end of June and September
  2018.


  Respectfully Submitted,




  Charles Moseley EdD
  Court Monitor
  July 13, 2018
  
  6
    Report of the Court Monitor on Rhode Island Consent Decree Compliance Issued April 6, 2018 ECF
  Document 72.


                                                                                                                    8
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 9 of 13 PageID #: 3156




                                 ATTACHMENT




                                                                            9
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 10 of 13 PageID #: 3157




                                                                            10
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 11 of 13 PageID #: 3158




                                                                            11
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 12 of 13 PageID #: 3159




                                                                            12
Case 1:14-cv-00175-JJM-PAS Document 81 Filed 07/13/18 Page 13 of 13 PageID #: 3160




                                                                            13
